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12
                                UNITED STATES DISTRICT COURT
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14                           NORTHERN DISTRICT OF CALIFORNIA

15                                      OAKLAND DIVISION

16   FINJAN, INC., a Delaware Corporation,       Case No: 4:17-cv-04790-HSG
17                        Plaintiff,             DEFENDANTS’ REQUEST FOR
                                                 JUDICIAL NOTICE RE: JUDGE
18           v.                                  ALSUP’S ORDER GRANTING EARLY
19   BITDEFENDER INC., a Florida Corporation,    MOTION FOR SUMMARY JUDGMENT
     and BITDEFENDER S.R.L., a Romanian          ON ’780 PATENT
20   Corporation,
21                        Defendants.
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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
     RE CLAIM CONSTRUCTION                                         Case No. 4:17-cv-04790-HSG

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 1                      BITDEFENDER’S REQUEST FOR JUDICIAL NOTICE
 2           Bitdefender Inc. and Bitdefender S.R.L. (together, “Bitdefender”) file this Request for
 3   Judicial Notice of an Order Granting Early Motion for Summary Judgment on Finjan’s Patent No.
 4   6,804,780 (“the ’780 patent”), which has also been asserted by Finjan in this case. That Order,
 5   attached hereto as Exhibit A, was issued by Judge Alsup in the case Finjan, Inc. v. Juniper
 6   Networks, Inc., No. C 17-05659 WHA (N.D. Cal.) on August 12, 2018. In granting summary
 7   judgment in connection with the ’780 patent, the Court construed that patent. This Court held a
 8   claim construction hearing on various Finjan patents, including the ’780 patent, on June 6, 2018.
 9           For convenience of the Court, the term at issue, construction adopted by the Juniper court
10   in granting summary judgment in connection with the ’780 patent, and constructions proposed by
11   Bitdefender and Finjan are summarized in the following table:
12
     Patent        Term                  Juniper Court’s     Bitdefender’s        Finjan’s
13   (Claims)                            Adopted             Proposed             Proposed
                                         Construction        Construction         Construction
14   ’780        “performing a           “performing a       “performing a        “performing a
     (1,9,17,18) hashing function on     hashing function    hashing function     hashing function
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18               Downloadable ID”        generate a single   fetched software     generate a
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19                                       identifies the      transmute the
20                                       contents of both    Downloadable
                                         the Downloadable    and its fetched
21                                       and the fetched     components into a
                                         components”         unique and
22                                                           reproducible ID
                                                             for that
23                                                           Downloadable”
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25           Judicial notice is warranted here given a contemporaneous order of the court construing

26   the ’780 patent. “[T]he Supreme Court has stressed the particular importance of intrajurisdictional

27   uniformity in claim construction.” Finjan, Inc. v. Symantec Corp., No. 14-cv-01998-HSG, 2017

28   WL 550453, at *3 (citing Markman v. Westview Instruments, Inc., 517 U.S. 370, 384 (1996)).
     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                                  Case No. 4:17-cv-04790-HSG
     RE CLAIM CONSTRUCTION                               1
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 1   The interest in uniformity would seem to weigh most heavily where, as here, a court in this
 2   District issues a claim construction order shortly before another is likely to be issued in the same
 3   jurisdiction with few if any intervening legal developments. See Rambus v. Hynix Semiconductor
 4   Inc., 569 F. Supp. 2d 946, 965 (N.D. Cal. 2008) (surveying cases including one promoting
 5   “considerable deference . . . to . . . prior decisions unless overruled or undermined by subsequent
 6   legal developments” (citing Sears Petroleum & Transport Corp. v. Archer Daniels Midland Co.,
 7   No. 5:03-CV-1120 (DEP), 2007 WL 2156251, at *8 (N.D.N.Y. July 24, 2007)).
 8           For these reasons, Bitdefender requests judicial notice of the order in Finjan, Inc. v.
 9   Juniper Networks attached as Exhibit A.
10   Dated: August 14, 2018                      KALPANA SRINIVASAN
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11                                               MICHAEL ADAMSON
                                                 SUSMAN GODFREY L.L.P.
12
                                                 IAN B. CROSBY
13                                               SUSMAN GODFREY L.L.P.
14                                        By:   /s/ Michael Adamson
15                                                Michael Adamson

16                                               Attorneys for Defendants Bitdefender S.R.L. and
                                                 Bitdefender Inc.
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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                                   Case No. 4:17-cv-04790-HSG
     RE CLAIM CONSTRUCTION                               2
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